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          EXHIBIT 8
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                                                       7-8FORM
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                                                               13F-NT



    The Securities and Exchange Commission has not necessarily reviewed the information in this filing and has
                                   not determined if it is accurate and complete.
                    The reader should not assume that the information is accurate and complete.

                    UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                    OMB APPROVAL
                                                   Washington, D.C. 20549
                                                                                                                            3235-
                                                         FORM 13F                                     OMB Number:
                                                                                                                             0006
                                                                                                      Estimated average burden
                                                                                                      hours per
                                               FORM 13F COVER PAGE                                    response:
                                                                                                                             23.8




  Report for the Calendar Year or Quarter Ended: 09-30-2022
  Check here if Amendment                     Amendment Number:
  This Amendment (Check only one.):           is a restatement.
                                              adds new holdings entries.


  Institutional Investment Manager Filing this Report:

                                    GOLDMAN SACHS & CO.
  Name:
                                    LLC
  Address:                          200 WEST STREET

                                    NEW YORK, NY 10282
  Form 13F File Number:             028-00687
  CRD Number (if applicable):
  SEC File Number (if
  applicable):



  The institutional investment manager filing this report and the person by whom it is signed hereby represent that the
  person signing the report is authorized to submit it, that all information contained herein is true, correct and
  complete, and that it is understood that all required items, statements, schedules, lists, and tables, are considered
  integral parts of this form.


  Person Signing this Report on Behalf of Reporting Manager:
  Name:             Constance Birch
  Title:               Vice President
  Phone:               972-368-3758


  Signature, Place, and Date of Signing:

  /s/Constance Birch                Dallas, TX          11-10-2022
             [Signature]                [City, State]      [Date]




  Report Type (Check only one.):

     13F HOLDINGS REPORT. (Check here if all holdings of this reporting manager are reported in this report.)


https://www.sec.gov/Archives/edgar/data/769993/000076999322000359/xslForm13F_X02/primary_doc.xml                                    1/2
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                                                      7-8FORM
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                                                              13F-NT
      13F NOTICE. (Check here if no holdings reported are in this report, and all holdings are reported by other reporting
  X
      manager(s).)
      13F COMBINATION REPORT. (Check here if a portion of the holdings for this reporting manager are reported in this
      report and a portion are reported by other reporting manager(s).)


  List of Other Managers Reporting for this Manager:
  [If there are no entries in this list, omit this section.]

                                                                   CRD No. (if             SEC File No. (if
                    Name                   Form 13F File No.                                                  CIK
                                                                   applicable)             applicable)
                    GOLDMAN SACHS
                                           028-04981                                                          0000886982
                    GROUP INC




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